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                          UNITED STATES DISTRICT COURT FOR THE
                              SOUTHERN DISTRICT OF FLORIDA
                                      Miami Division

                              Case Number: 08-21843-CIV-MORENO

  VERONICA KELLY, individually and on behalf
  of others similarly situated,

         Plaintiff,

  VS.

  PALMER, REIFLER, & ASSOCIATES,

         Defendant.
                                                   1

    ORDER DENYING MOTION TO FILE DEPOSITION TRANSCRIPT UNDER SEAL

         THIS CAUSE came before the Court upon Defendant's Motion to File Under Seal (D.E. No.

  205; filed on September 23,2009) an entire deposition transcript relied upon by Defendant in its

  Reply in Support of its Motion for Summary Judgment (D.E. No. 200).

         THE COURT has considered the motion and the pertinent portions of the record, and being

  otherwise fully advised in the premises, it is

         ADJUDGED that the motion is DENIED because Defendant seeks to seal the entire

 transcript of a deposition in a public proceeding, particularly in light of the fact that Defendant cites

 portions of the transcript in support of its Reply in Support of its Motion for Summary Judgment.

         DONE AND ORDERED in Chambers at Miami, Florida,




                                                         UNITED STATES DISTRICT JUDGE

  Copies provided to:
  Counsel of Record
